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                         UNITED STATES DISTRICT COURT
                          EASTERN DISTRICT OF TEXAS
                              SHERMAN DIVISION

  STATE OF TEXAS                         §       CIVIL NO. 4:24-CV-499-SDJ
                                         §              LEAD CASE
                                         §
  PLANO CHAMBER OF                       §       CIVIL NO. 4:24-CV-468-SDJ
  COMMERCE, ET AL.                       §
                                         §
  v.                                     §
  UNITED STATES DEPARTMENT               §
  OF LABOR, ET AL.                       §

                           ORDER SETTING HEARING

       Before
       .      the Court are Plaintiffs Plano Chamber of Commerce, et al.’s Motion

 for Expedited Summary Judgment and Brief in Support, (Dkt. #46), Plaintiff State of

 Texas’s Motion for Summary Judgment, (Dkt. #48), and Defendants’ Cross-Motion

 for Summary Judgment and Opposition to Plaintiffs’ Motions for Summary

 Judgment, (Dkt. #57). The motions are set for hearing on Friday, November 8,

 2024, at 10:00 a.m. at the United States Courthouse located at 7940 Preston Road,

 Courtroom 105, Plano, Texas.

           So ORDERED and SIGNED this 31st day of October, 2024.




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                                                    SEAN D. JORDAN
                                                    UNITED STATES DISTRICT JUDGE
